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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION
                                      www.flsb.uscourts.gov


In Re:                                                          CHAPTER 13

Ralph Levi Sanders, Jr.,                                        CASE NO. 22-14766-SMG

                        Debtor.
                                                /

      EXPEDITED MOTION FOR CONTINUATION OF THE AUTOMATIC STAY

         COMES NOW, Debtor, Ralph Levi Sanders, Jr. (hereinafter “Debtor”), by and through

undersigned counsel, and files this Expedited Motion for Continuation of the Automatic Stay, and

in support thereof states:

         1.     Debtor filed for bankruptcy relief under Chapter 13 on June 20, 2022. However,

Debtor previously filed for Chapter 13 relief on October 25, 2019, Case No. 19-24331-PDR, which

was dismissed on September 15, 2021, for failure to make timely payment to the Chapter 13 Trustee.

         2.     Debtor’s automatic stay protection is limited to thirty (30) days because of his

previously pending case within the preceding year. However, Debtor requests this Court to continue

the automatic stay and extend the bankruptcy protection to give Debtor the opportunity to save his

property.

         3.     “If a single or joint case of the debtor was pending within the preceding 1-year-

period but was dismissed. . . the stay. . . with respect to any action taken with respect to a debt or

property securing such debt or with respect to any lease shall terminate with respect to the debtor on

the 30th day after the filing of the later case. . .” 11 U.S.C 362(c)(3)(A). However, the automatic

stay may be extended “on the motion of a party in interest for continuation of the automatic stay and


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upon notice and a hearing. . .before the expiration of the 30-day period only if the party in interest

demonstrates that the filing of the later case is in good faith as to the creditors to be stayed.” 11 U.S.C.

362(c)(3)(B). This bankruptcy case has been filed in good faith.

        4.       Debtor’s property, located at 561 S.W. 60th Avenue, Plantation, Florida 33317

(hereinafter “real property”), is the subject property of a mortgage foreclosure in the case styled The

Bank of New York Mellon f/k/a The Bank of New York as Successor in Interest to JP Morgan Chase

Bank, N.A. as Trustee for Bear Stearns Asset Backed Securities Trust 2006-SD2, Asset-Backed

Certificates, Series 2006-SD2, Case No. CACE11016092 in Circuit Court in Broward County,

Florida.

        5.       There have been changed circumstances since the filing of the first case that should

permit for the extension of the automatic stay by this Court. After the filing of the previous

bankruptcy, the Debtor’s counsel withdrew, which left the Debtor pro se and unable to properly

prosecute the Chapter 13 bankruptcy case. Additionally, since the filing of the previous case, the

Debtor has discovered potential claims relating to issues of a government taking of his property with

the City of Plantation as well as issues that likely will lead to claims against his title insurance for

his primary residence. These claims may materially change the Debtor’s financial position as well

as potentially provide an avenue for the secured creditor on the homestead to recover amounts

relating to the obligations due under the mortgage.

        6.       The real property is Debtor’s homestead property. He has been actively seeking

options that will permit him to keep her property and has filed this bankruptcy in an effort to save

the property.

        WHEREFORE, Debtor, Ralph Levi Sanders, Jr., respectfully requests this Court to grant

this Motion for Continuation of the Automatic Stay, remove the thirty-day limit of the automatic

stay,and any other relief this Court deems just and necessary.

        Dated: July 1, 2022.
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                       Respectfully submitted,

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                       /s/ Nicholas G. Rossoletti Esquire
                       NICHOLAS G. ROSSOLETTI,
                       ESQUIRE
                       Florida Bar No. 0051466




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                                        PROPOSED ORDER




                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION
                                    www.flsb.uscourts.gov


In Re:                                                           CHAPTER 13

Ralph Levi Sanders, Jr.,                                         CASE NO. 22-14766-SMG

                         Debtor.
                                              /

      ORDER GRANTING EXPEDITED MOTION FOR CONTINUATION OF
                          THEAUTOMATIC STAY

         THIS MATTER came to be heard on                        ., on the Debtor’s Expedited Motion

forContinuance of the Automatic Stay (ECF #       ) (hereinafter “Motion”).   Based upon the debtor’s

assertions made in support of the Motion, having considered the record in this case, and being duly

advised in the premises, it is hereby

          ORDERED:

         1.       The Motion is GRANTED.

         2.       The automatic stay shall continue throughout the pendency of this case as to

all creditors.
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Submitted by
NICHOLAS G. ROSSOLETTI, ESQUIRE
2760 W. Atlantic Boulevard
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Movant shall serve a copy of this order on all interested parties and file a certificate of
servicewith the Clerk of the Court.




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